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                              Nos. 25-5067 & 25-5068


                     IN THE UNITED STATES COURT OF
                      APPEALS FOR THE DISTRICT OF
                           COLUMBIA CIRCUIT


                             J.G.G., et al.,
                          Plaintiffs-Appellees,
                                    v.
         DONALD J. TRUMP, in his official capacity as President of the
                        United States, et al.,
                       Defendants-Appellants.


                 ON APPEAL FROM THE UNITED STATES
            DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                           No. 1:25-cv-00766
                       The Hon. James E. Boasberg


               NOTICE OF WITHDRAWAL OF APPEARANCE


      Defendants respectfully provide notice that one of their counsel, Christina P.

Greer, is withdrawing her appearance on behalf of Defendants in this case. Ms.

Greer is currently on detail to another component of the Department. Because of

this, from the outset, her participation in the case was intended to be limited in scope

and duration. She has returned to her detail duties and will no longer be representing

the Defendants in this case. Defendants will continue to be represented in this matter

by other counsel of record.
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Dated: March 19, 2025

                                            Respectfully Submitted,

                                    By: Christina P. Greer
                                        CHRISTINA P. GREER
                                        Senior Litigation Counsel
                                        Office of Immigration Litigation
                                        General Litigation & Appeals Section
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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 19, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

D.C. Circuit by using the appellate CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.


                                               /s/ Christina P. Greer
                                              CHRISTINA P. GREER
